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 6
                                 UNITED STATES DISTRICT COURT
 7                                    DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                          Case No. 2:17-cr-73-APG-EJY-2

 9                  Plaintiff,                          Joint Motion for an Order Regarding
                                                        Compliance with this Court’s Order at
10          v.                                          ECF 241

11   JOSHUA RAY FISHER,

12                  Defendant.

13

14          Defendant Joshua Ray Fisher and the Government hereby jointly move for an order

15   confirming that Fisher’s counsel has complied with her obligations under the Court’s order

16   at ECF 241 and that the parties may resume their appeal before the Ninth Circuit.

17          On March 17, 2021, the Ninth Circuit remanded this case for a determination on

18   the Government’s motion to disqualify defendant Joshua Fisher’s appellate counsel,

19   Michael Humphreys. On May 3, 2021, the district court appointed Kathleen Bliss, Esq., as

20   counsel for Fisher for the purpose of litigating the issue of disqualification. On September

21   16, 2021, this Court issued an order denying the Government’s motion to disqualify

22   Defendant Joshua Ray Fisher’s appellate counsel Michael Humphreys.

23          As part of that order, the Court required Ms. Bliss to confer with Fisher regarding

24   the Government’s motion and the Court’s Order, and to “file a notice with the Court
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1    advising that she has complied with the Court’s Order and verify whether Joshua Fisher

2    expressed any concerns or had questions that should be addressed by the Court.” ECF 241

3    at 7-8. Ms. Bliss filed a Notice at ECF 242 confirming that she consulted with Fisher and

4    that Fisher had no further questions for the Court and that Fisher wanted Humphreys to

5    remain his lawyer on appeal. The Government has declined to appeal the Court’s order at

6    ECF 241 to the District Judge assigned to this case.

7           The parties believe that Fisher has complied with the Court’s order at ECF 241 and

8    request that the Court confirm that Fisher’s Notice satisfied his obligations under that

9    Order so that the parties may proceed with Fisher’s appeal before the Ninth Circuit.

10          Respectfully submitted this 28th day of October, 2021.

11                                                      CHRISTOPHER CHIOU
                                                        Acting United States Attorney
12
                                                        s/ Richard Anthony Lopez
13                                                      RICHARD ANTHONY LOPEZ
                                                        Assistant United States Attorney
14

15                                                      s/ Kathleen Bliss
                                                        KATHLEEN BLISS
16                                                      Counsel for Defendant
                                                        JOSHUA RAY FISHER
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1                      UNITED STATES DISTRICT COURT
2                           DISTRICT OF NEVADA

3    UNITED STATES OF AMERICA,                            Case No. 2:17-cr-73-APG-EJY

4                   Plaintiff,                            [Proposed] Order Regarding
                                                          Compliance with this Court’s Order at
5           v.                                            ECF 241

6    JOSHUA RAY FISHER,

7                   Defendant.

8

9           Based on Defendant Joshua Ray Fisher’s Notice filed at ECF 242, the Court finds

10   that Fisher’s counsel has satisfied her obligations to consult with Fisher as required by this

11   Court’s Order at ECF 241.

12          IT IS HEREBY ORDERED THAT the Government is directed to file a notice with

13   the U.S. Court of Appeals for the Ninth Circuit regarding the outcome of its disqualification

14   motion within 10 days of this Order.

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                                             HONORABLE ELAYNA J. YOUCHAH
17                                          UNITED STATES MAGISTRATE JUDGE

18                                                      Dated: October 29, 2021

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